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 8
                                        UNITED STATES OF AMERICA
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN FRANCISCO DIVISION
11

12 UNITED STATES OF AMERICA,                )               Case No.: 3:21-CR-00181-VC
                                            )
13                           Plaintiff,     )               [PROPOSED] AMENDED PRELIMINARY
                                            )               ORDER OF FORFEITURE
14               v.                         )
                                            )
15   MIN JIN ZHAO,                          )
                                            )
16                           Defendant.     )
     _______________________________________)
17
            Having considered the Amended Application for a Preliminary Order of Forfeiture filed by the
18
     United States, and the Plea Agreement entered on February 6, 2023, wherein the defendant Min Jin
19
     Zhao agreed to forfeiture, and good cause appearing,
20
            IT IS HEREBY ORDERED that the following property is forfeited to the United States pursuant
21
     to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c)
22
     and the procedures outlined in Rule 32.2 of the Federal Rules of Criminal Procedure and Title 21,
23
     United States Code, Section 853:
24
            •    The real property commonly known as 45635 Hopi Road, Indian Wells, California 92210,
25
                 associated with Assessor Parcel Number (APN): 633-430-009 as assigned by the County of
26
                 Riverside.
27

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     [PROPOSED] AMENDED PRELIMINARY ORDER OF FORFEITURE
     3:21-CR-00181-VC                                                                               1
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 1          IT IS FURTHER ORDERED that the United States, through its appropriate agency, shall seize

 2 the forfeited property forthwith and publish for at least (30) thirty days on the government website

 3 www.forfeiture.gov a notice of this Order, notice of the government=s intent to dispose of the property in

 4 such manner as the Attorney General may direct, and notice that any person, other than the defendant,

 5 having or claiming a legal interest in the property must file a petition with the Court and serve a copy on

 6 government counsel within thirty (30) days of the final publication of notice or of receipt of actual

 7 notice, whichever is earlier;

 8          IT IS FURTHER ORDERED that, the government may conduct discovery, in order to identify,

 9 locate, or dispose of property subject to forfeiture, in accordance with Rule 32.2(b)(3) of the Federal

10 Rules of Criminal Procedure;

11          IT IS FURTHER ORDERED that the Court will retain jurisdiction to enforce the Preliminary

12 Order of Forfeiture, and to amend it as necessary, pursuant to Federal Rule of Criminal Procedure

13 32.2(e).

14          IT IS FURTHER ORDERED that, pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal

15 Procedure, this Preliminary Order of Forfeiture shall become final as to the defendant at the time of

16 sentencing and shall be made part of the sentence and included in the judgment.

17

18          IT IS SO ORDERED this _____ day of April 2023.

19

20                                                _______________________________
                                                  HON. VINCE CHHABRIA
21                                                United States District Judge
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     [PROPOSED] AMENDED PRELIMINARY ORDER OF FORFEITURE
     3:21-CR-00181-VC                                                                                2
